Case 4:18-cv-00144-RGD-DEM Document 4 Filed 02/21/19 Page 1 of 2 PageID# 10




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NEWPORT NEWS DIVISION



JAY PATRICIA LEGARE,

       Plaintiff,

       V.

                                                            CIVIL NO.4:18cvl44
OFFICER E.F. MORRISEY,et aL,

       Defendants.



                                    OPINION AND ORDER


       This matter comes before the Court on Jay Patricia Legare's("Plaintiff)Response to Show

Cause Order("Response"). ECF No. 3. For the reasons stated herein, the Court finds that Plaintiff

has failed to demonstrate good cause as to why this action should not be dismissed pursuant to

Rule 4(m) of the Federal Rules of Civil Procedure. As such, the Court dismisses Plaintiffs

Complaint, ECF No. 1, without prejudice.

       On November 14,2018, Plaintiffs Complaint was filed alleging violations of42 U.S.C. §

1983 and assault and battery. ECF No. 1. The named Defendants include:

       Officer E.F. Morrisey,
       Officer John Doe, Officer Richard Roe, police officers/supervisors of the city of Newport
       News,the identity of whom is presently unknown to the plaintiff
       City of Newport News.

       On February 13, 2019, the Court entered a Show Cause Order noting that the Complaint

had not be served within ninety(90)days of the filing of the Complaint. ECF No. 2. As such,the

Court ordered Plaintiff to show cause, if any, why this action should not be dismissed pursuant to

Rule 4(m)ofthe Federal Rules of Civil Procedure. Id. In its Response,Plaintiffs counsel merely

stated as follows: "we lost contact with the Plaintiff from shortly prior to filing this action until

                                                     1
Case 4:18-cv-00144-RGD-DEM Document 4 Filed 02/21/19 Page 2 of 2 PageID# 11



just recently and our attempts to make with her were unsuccessful." ECF No. 3. Plaintiffs counsel

further stated that "[i]t appears that during that time the Plaintiff had some medical issues and,

additionally, had changed her phone number." Id.

        Such Response fails to demonstrate good cause. First, the apparent failure of Plaintiffs

counsel to maintain contact with Plaintifffrom as early as the initial filing of this suit is an entirely

insufficient explanation for counsel's failure to serve the Complaint.              Further, counsel's

representations that Plaintiff apparently "had some medical issues and . . . changed her phone

number" do nothing to support a showing of good cause as to the failure to serve Plaintiffs

Complaint.     As such, the Court finds that Plaintiffs Response to Show Cause Order fails to

demonstrate good cause as to why the Complaint should not be dismissed pursuant to Rule 4(m)

of the Federal Rules of Civil Procedure.


    IV.         CONCLUSION


        Upon consideration of Plaintiffs Response to Show Cause Order, and upon finding no

good cause shown for failure to serve Plaintiffs Complaint, the Court DISMISSES Plaintiffs

Complaint WITHOUT PREJUDICE pursuant to Rule 4(m) of the Federal Rules of Civil

Procedure. ECF No. 1.


          The Clerk is DIRECTED to forward a copy of this Opinion and Order to all Counsel of

Record.


        IT IS SO ORDERED




Norfolk, VA
February        2019
